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     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                      CENTRAL DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                             MEMORANDUM DECISION
v.                                                               AND ORDER

JASON NUNLEY,                                                   Case No. 2:05CR895DAK

                       Defendant.




       Defendant, Jason Nunley Lott, has filed a Motion for Early Termination of Supervised

Release. On June 4, 2007, this court sentenced Defendant to fifty-seven months incarceration

followed by forty-eight months of supervised release. Defendant began his period of supervised

release on August 20, 2009. Therefore, Defendant’s supervised release is not scheduled to

terminate until August 2013.

       Pursuant to 18 U.S.C. § 3583(e)(1), after considering the factors set forth in Section

3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), and (a)(6), the court may terminate a

term of supervised release “at any time after the expiration of one year of supervised release . . .

if it is satisfied that such action is warranted by the conduct of the defendant released and the

interest of justice.” The factors to be considered in Section 3553(a) are those factors to be

considered in imposing a sentence, including “the nature and circumstances of the offense and

the history and characteristics of the defendant,” the applicable sentencing guidelines and any
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policy statements issued by the Sentencing Commission, and the need for the sentence imposed

to promote respect for the law, to provide just punishment, to deter other criminal conduct, and to

provide the defendant with needed services. See 18 U.S.C. § 3553(a).

       Defendant’s motion states that he has started his own landscaping business and sobriety is

the key to running his business. The court has contacted Defendant’s United States Probation

Officer, Cameron Sinner, who indicated that Defendant has done extremely well during his

supervised release and has completed all of the conditions of his release. He has been steadily

employed and been in full compliance with the requirements of his release. The evidence

provided to the court demonstrates that Defendant has completely changed his past behavior. His

commitment to his business demonstrates that he poses little risk of future criminal behavior.

Based on Defendant’s present conduct, the court finds that an early termination of supervised

release is warranted.

       Accordingly, the court grants Defendant’s motion for early termination of supervised

release.

       DATED this 22nd day of April, 2011.

                                             BY THE COURT:




                                             DALE A. KIMBALL
                                             United States District Judge




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